            5:22-cr-00058-cr         Document 224     Filed 01/21/25     Page 1 of 20




                            UNITED STATES DISTRICT COURT
                                      FOR THE
                                DISTRICT OF VERMONT

 UNITED STATES OF AMERICA,                     Case No. 5:22-cr-58

                        Plaintiff,

                 v.

 SERHAT GUMRUKCU,

                        Defendant.




                SERHAT GUMRUKCU’S MOTION TO LIMINE NO. 2:
             MOTION TO EXCLUDE UNDISCLOSED EXPERT TESTIMONY

         Defendant Serhat Gumrukcu, by and through his attorneys of record, respectfully moves

in limine for an Order enforcing this Court’s Scheduling Order and precluding the Government

from introducing undisclosed expert testimony. As the prosecution recently briefed for this

Court:

                Federal Rule of Criminal Procedure 16(b)(1)(C) was recently
                amended to require [each party], for each expert witness, to
                provide “a complete statement of all opinions that the defendant
                will elicit from the witness,” along with “the bases and reasons for
                them.” Fed. R. Crim. P. 16(b)(1)(C)(iii). While this “does not
                require a verbatim recitation of the testimony the expert will give
                at trial,” it requires more than the “written summary” previously
                required under the Rules. Fed. R. Crim. P. 16 Adv. Comm. Notes,
                2022 Amendment. Even before Rule 16(b)(1)(C) was amended in
                2022, the advisory notes to the Rule recognized that the purpose of
                this requirement is “to provide the opponent with a fair opportunity
                to test the merits of the expert’s testimony through focused cross-
                examination” and “to permit more complete pretrial preparation,”
                Rule 16 Adv. Comm. Notes, 1993 Amendment, and this Court
                observed that “[m]erely identifying the general topics about which
                the expert will testify is insufficient; rather, the summary must
                reveal the expert's actual opinions.” Kaufman, 2021 WL 4084523,



                                                                                        1|Page
           5:22-cr-00058-cr       Document 224        Filed 01/21/25      Page 2 of 20




               at *19 (collecting cases); see also United States v. Valle, No. 12
               Cr. 847 (PGG), 2013 WL 440687, at *5 (S.D.N.Y. Feb. 2, 2013)
               (same). “If a [party] fails to provide disclosures in accordance with
               Rule 16(b)(1)(C), the district court may exclude the expert's
               testimony at trial.” Kaufman, 2021 WL 4084523, at *19; see also
               United States v. Mahaffy, No. 05 Cr. 613 (ILG), 2007 WL
               1213738, at *2 (E.D.N.Y. Apr. 24, 2007) (same).

ECF 194 at 2. 1 Fed. R. Crim. P. 16(a)(1)(G) first places these same disclosure obligations on the

prosecution.

       In this case, the Court directed “[t]he prosecution shall provide expert witness disclosure

and reports to the defense by May 1, 2024.” ECF 102 ¶ 3. The Government provided its notices

of expert witnesses. See Ex. A. Accordingly, Defendant Gumrukcu then understood that those

notices presented in full the “a complete statement of all opinions that the government will elicit

from the witness[es] in its case-in-chief,” along with “the bases and reasons for them.” Fed. R.

Crim. P. 16(a)(1)(G)(iii).

       Despite that well-founded understanding, at the end last week, on the afternoon of

January 16, defense counsel learned that the Government intended to offer undisclosed expert

testimony at trial. More granularly, the Government’s disclosures included the expert report of

FBI Special Agent Justin Woodford. See Ex. B. Therein, the Government first disclosed that

S/A Woodford would offer the following opinion:

               The Government will present evidence that Aron Ethridge received
               payment in bitcoin, which is a type of cryptocurrency, for his part
               in the murder-for-hire scheme. Ethridge then withdrew cash from
               a Coinflip ATM. SA Woodford was asked to review Coinflip data
               associated with Aron Ethridge. His testimony will be based on his
               review of that Coinflip data and his training, certifications, and
               experience.



       1
          ECF refers to the docket entries generated by the Electronic Court Filing system. We
pin-cite to the ECF-generated page numbers atop each filing.

                                                                                         2|Page
           5:22-cr-00058-cr       Document 224        Filed 01/21/25      Page 3 of 20




Ex. B at 1. In sum, this disclosure is limited to Ethridge and is limited to S/A Woodford’s

“review of that Coinflip data” and not other evidence.

       Thereafter, the report discloses more general information about Coinflip and

cryptocurrency, before it discloses its analysis of “wallet information for Ethridge’s

cryptocurrency account and the related blockchain entries.” Ex. B at 4. It summarized this

proffered expert testimony as follows:

               Specifically, SA Woodford’s review revealed that on March 4, 2020, someone
               with a Bitlo account sent approximately 1.11 Bitcoins (BTC) or $9,370 to wallet
               address lIMN aXnaP 1hFD9W zzNNVJGTRfyWL TII asE.

               On March 5, 2020, address IJMNaXnaPlhFD9WzzNNVJGTRfyWLTIIasE sent
               1.10988996 BTC ($9,737.93 USD) in transaction hash 83f2681
               d256694065e03691a36c51 d728a49fabee73ef92246685ea6ae705ee6. The
               amounts output in the transaction were 0.342201 BTC ($3,002.39 USD) to
               32xZ9tBYha9JA7a6VUb8WqcRjTmHMzw18P and 0.76768218 BTC ($6,735.47
               USD) to 1DPxpU3KyY6VudivZJvu7m1 YuQyEjSwAMa. Based on the UTXO
               method of matching the address type, Legacy type in this case, and the fact that
               CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM number
               BT300605, located at 450 Fremont Street #130 Las Vegas, NV 89101,
               (hereinafter "BT300605"), address 1DPxpU3KyY 6VudivZJvu7m 1YuQyEjSw
               AMa is likely a change address and in the same wallet as 1JMNaXnaP
               1hFD9WzzNNVJGTRfyWLTJ 1asE.

               On March 6, 2020, address 1DPxpU3KyY6VudivZJvu7m1YuQyEjSwAMa sent
               0.76768218 BTC ($6,966.57 USD) in transaction hash
               2976c83f1c5005afab340b592bOa0682775e1263e601eb2218d4e83f3cba8bec.
               The amounts output in the transaction were 0.343674 BTC ($3,118.77969 USD)
               to 394WsW3qUhFnuAFPAtgV58Gt83K3t7rdyF and 0.42397202 BTC
               ($3,847.46977 USD) to 1YGn14zH8AC4imFSMZBEYsn62RxCuBPi3. Based on
               the UTXO method of matching the address type, Legacy type in this case, and the
               fact that CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM
               number BT300605, address 1YGn14zH8AC4irnFSMZBEYsn62RxCuBPi3 is
               likely a change address and in the same wallet as 1DPxpU3KyY6VudivZJvu7m1
               YuQyEjSwAMa.

               On May 13, 2020, address lYGn14zH8AC4imFSMZBEYsn62RxCuBPi3 sent
               0.42397202 BTC ($3,739.9335 USD) in transaction hash c4f353fdO
               1087996dc60aaa281c33740 139f75a2f8a195f3e09aOd6f2278d1 cO. The amounts
               output in the transaction were 0.08861018 BTC ($781.64 USD) to
               19T5st3JYrnEPDEgPKawZ6XECoJ15wsJ72u and 0.335285 BTC ($2,957.60

                                                                                         3|Page
           5:22-cr-00058-cr       Document 224        Filed 01/21/25      Page 4 of 20




                USD) to 31skUTb8TbMqY1dFMYMh5ab9SbckJT7sP8. Based on the UTXO
                method of matching the address type, Legacy type in this case, and the fact that
                CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM number
                BT300860, located at 4305 Dean Martin Drive #120, Las Vegas, NV 89103,
                (hereinafter "BT300860"), address 19T5st3JYmEPDEgPKawZ6XECoJ15wsJ72u
                is likely a change address and in the same wallet as
                1YGn14zH8AC4imFSMZBEY sn62RxCuBPi3.

                On July 29,2020, address 19T5st3JYrnEPDEgPKawZ6XECoJ15wsJ72u sent
                0.08861018 BTC ($994.62 USD) in transaction hash
                988070be1c4a633e6d5bd41f9494aa7a8dOa8317ae3b4fe7367d064b784faOcc.
                The amounts output in the transaction were 0.00475748 BTC ($53.40 USD) to
                125tJwnJN4DRzvUWDNkCQoWM6vsmNErY1D and 0.083525 BTC ($937.54
                USD) to 3JpyPUp3SsxS8p1AVwxhow87Fh83PvAA8s. Based on the UTXO
                method of matching the address type, Legacy type in this case, and the fact that
                CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM number
                BT300860, address 125tJwnJN4DRzvUWDNkCQoWM6vsmNErYID is likely a
                change address and in the same wallet as 19T5st3JY
                mEPDEgPKawZ6XECoJ15wsJ72u.

                On April 6, 2021, addresses 15BG86X8QRwbqjJTfqy1 vVaplAZMBemtrv,
                125tJwnJN4DRzvUWDNkCQoWM6vsmNErY1D, and
                1DLF6BW7KrogZPYyETR92332d9Hy38vrN8 co-spent 0.00062461 BTC
                ($36.92 USD), 0.00475748 BTC ($281.26) USD, and 0.00093264 BTC ($55.13
                USD) respectively in transaction hash 66cce31 a7a1
                ea2287b6050ab776d1604fb66586df6706d35a56de5afc7ddl cda. The amount
                output in the transaction was 0.00600675 BTC ($355.11 USD) to 3DYnyYyCh3
                JcppmcZw 1rmVeWI LksZNgAzD. Based on the UTXO method of matching the
                address type, Legacy type in this case, and the fact that CoinFlip records revealed
                Ethridge placed a sell order at CoinFlip ATM number BT300860. Since
                15BG86X8QRwbqjJTfqylvVaplAZMBemtrv, l25tJwnJN4DRzvUWDNkCQo
                WM6vsmNErY 1D, and lDLF6BW7KrogZPYyETR92332d9Hy38vrN8 co-spent
                together, they are likely in the same wallet.

Ex. B at 5-6.

       Apart from the first entry, which does not identify the source of the original funding

transaction, the remaining entries—consistent with the limited expert notice—address Ethridge’s

ATM transactions within his CoinFlip account years after the alleged conspiracy and homicide. 2




       2
         The relevance of this evidence is lost on Gumrukcu, and he reserves the right to
interpose relevance and other evidentiary objections to this evidence at trial.
                                                                                         4|Page
              5:22-cr-00058-cr     Document 224         Filed 01/21/25      Page 5 of 20




        The Government continued its expert notice by summarizing its previous disclosures to

provide S/A Woodford’s conclusion:

                 Below is the specific part of the chart that shows the transfers,
                 including the specific "change addresses," that SA Woodford
                 identified based on his review of the change address analysis
                 described above. This represents SA Woodford's opinion that
                 addresses that sent bitcoin to Coinflip are part of a wallet owner
                 [sic] or administrated by Aron Ethridge.

Ex. B at 7. 3 The Government thus concluded its expert notice with a clear summary:

                 In total, from reviewing the coinflip records, Special Agent
                 Woodford identified five (5) transactions from Aron Ethridge's
                 wallet to addresses controlled by Coinflip in order to withdraw
                 cash equivalents of the value of the bitcoin.

Id. at 8.

        In sum, the Government disclosed that S/A Woodford’s testimony concerned Ethridge

and only Ethridge. Indeed, defendant Gumrukcu’s name appears nowhere in the Government’s

disclosure.

        Defendant was thus surprised last week when the Government suggested that the

Woodford expert notice actually disclosed that Gumrukcu funded Ethridge’s crypto wallet, and

that the Government would rely on foreign-sourced evidence (and perhaps other materials)

regarding IP addresses to support Woodford’s presentation of such expert testimony. The

problem is, of course, that the Government never has noticed any expert testimony regarding

either (1) Gumrukcu’s alleged connection to crypto payments to Ethridge, or (2) the subject of IP




        3
        It appears that the Government meant the account was “owned” by Ethridge and
“owner” is a typo in the disclosure. The prosecution should clarity this ambiguity in its response.
                                                                                           5|Page
             5:22-cr-00058-cr    Document 224         Filed 01/21/25     Page 6 of 20




addresses, how evidence of IP addresses is generated and maintained, or (3) any IP address

tracing. 4

        Because the Government did not provide any such notice of expert testimony on any such

subjects, the Court should enforce the case scheduling order, enforce Rule 16, and preclude the

Government from introducing any undisclosed expert testimony at trial generally, and

specifically from introducing any crypto evidence against Gumrukcu, and any IP tracing

evidence at all. The Government’s failure to notice any such expert testimony should preclude

the introduction of such surprise evidence.

        Defendant Gumrukcu requests oral argument at the February 4, 2025 hearing currently

scheduled. He has filed this motion in limine 14 days in advance of the hearing to provide the

United States the full complement of time to respond. See also June 10, 2024 Reporter’s

Transcript at 9:23-25; July 29, 2024 Reporter’s Transcript at 81:23-82:2.

        Dated this 21st day of January 2025.
                                               Respectfully submitted,


                                               /s/ Susan K. Marcus
                                               SUSAN K. MARCUS
                                               Law Firm of Susan K Marcus LLC
                                               29 Broadway, Suite 1412
                                               New York, NY 10006
                                               (212) 792-5131
                                               susan@skmarcuslaw.com




        4
        Alleged records relating to Gumrukcu’s accounts with Bitlo, a Turkish Crypto Currency
Company, were first disclosed to the defense on September 6, 2024. On December 11, 2024,
AUSA Van de Graaf emailed defense counsel with proposed exhibits and asked for a stipulation.
A call was scheduled with the Government in December; they asked to postpone and said they
would get back to us with a date. They reconnected in January, and we scheduled the call for
January 16, 2025. This was the first we learned, in an indirect way, that the Government was
planning to use Woodford to discuss the Bitlo accounts.
                                                                                        6|Page
5:22-cr-00058-cr   Document 224   Filed 01/21/25     Page 7 of 20




                           /s/ Ethan A. Balogh
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                           Attorneys for Defendant
                           SERHAT GUMRUKCU




                                                                    7|Page
5:22-cr-00058-cr   Document 224   Filed 01/21/25   Page 8 of 20




               EXHIBIT A
                5:22-cr-00058-cr                Document 224   Filed 01/21/25      Page 9 of 20




                                                               U.S. Department of Justice
                                                               United States Attorney
                                                               District of Vermont



United States Courthouse and Federal Building
Post Office Box 570                                                                              (802) 951-6725
Burlington, Vermont, 05401-0570                                                             Fax: (802) 951-6540


                                                               May 1, 2024

Via USAfx
Susan K. Marcus, Esq.
Law Firm of Susan K Marcus LLC
29 Broadway Suite 1412
New York, NY 10006

          Re:        Expert Disclosure - United States v. Serhat Gumrukcu

Dear Susan,

       The United States contends that some of the anticipated testimony provided in the
disclosures is lay witness testimony under Rule 701 and, therefore, does not need to be disclosed
as potential expert testimony pursuant to Rules 702 and 703 of the Federal Rules of
Evidence. Additionally, some of the testimony provided by experts will not contain opinion
testimony. However, in an abundance of caution, the following disclosures are provided
pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G).

     1. Elizabeth M. Bundock, Chief Medical Examiner, Vermont Office of the Chief Medical
        Examiner and Steven L. Shapiro, (retired) former Chief Medical Examiner, Vermont
        Office of the Chief Medical Examiner.
     2. Hannah E. Erwin, Digital Forensic Examiner, Federal Bureau of Investigation and
        Roderick W. Link, III, Computer Scientist, Federal Bureau of Investigation.
     3. Emine Fougner, Translator, JTG Inc. (We anticipate some additional material in the near
        future.)
     4. Kevin P. Hoyland, Special Agent, Federal Bureau of Investigation. (We have included
        files identifying AT&T and Verizon tower lists from NDCAC used by Agent Hoyland as
        reference in his analysis.)
     5. Kristen L. Scott, Senior Digital Investigative Analyst, U.S. Department of Justice
        Cybercrime Lab.
     6. Richard Westfall, Forensic Accountant, Federal Bureau of Investigation.
     7. Justin Woodford, Special Agent, Federal Bureau of Investigation.

       The government may call FBI Digital Forensic Examiner Vicki Klemz and FBI Digital
Forensic Examiner Baldwin Ditrin. Examiner Klemz extracted data from various devices
seized at Mr. Gac’s residence in Minnesota in early 2018 and Mr. Ditrin has supervised
          5:22-cr-00058-cr       Document 224      Filed 01/21/25     Page 10 of 20




extractions of various devices for FBI Albany CART Team. We don’t believe that expert
disclosures are necessary for these witnesses who merely conducted extractions but out of an
abundance of caution we have included their CVs.

       Please let us know if you have any questions.

                                                   Sincerely,

                                                   NIKOLAS KEREST
                                                   United States Attorney

                                            By:    /s/ Paul Van de Graaf
                                                   Paul Van de Graaf
                                                   Zachary B. Stendig
                                                   Assistant U.S. Attorneys

cc: Ethan A. Balogh, Esq. (letter only)
    Lisa B. Shelkrot, Esq. (letter only)
5:22-cr-00058-cr   Document 224   Filed 01/21/25   Page 11 of 20




                   EXHIBIT B
          5:22-cr-00058-cr       Document 224         Filed 01/21/25     Page 12 of 20




Notice for Justin Woodford

        The Government anticipates calling Justin Woodford as an expert in cryptocurrency and
blockchain analysis. Justin Woodford is a Special Agent with the Federal Bureau of Investigation
(FBI) in the Albany Division. SA Woodford has worked as a Special Agent since 2020. He is
assigned to the Albay Division's Cyber Task Force and he is also a member of the Virtual Currency
Response Team (VCRT). Prior to serving as a Special Agent, Mr. Woodford worked as an
investigative specialist for the FBI's Washington Field Office and the Buffalo Field Office from
2009 to 2020. He began his career as an FBI Police Officer. SA Woodford earned a Bachelor of
Science degree in Computer and Information Science from the University of Maryland, University
College in 2013. SA Woodford holds numerous certifications including a certification in
Chainalysis Reactor Certification. SA Woodford has not testified in the past four years, and he
has no publications. His CV is attached.

        SA Woodford has created certain charts that are included in this disclosure. We reserve
the right to supplement and/or modify those charts should new information become available. In
addition, SA Woodford may create additional exhibits, charts, summaries, or other demonstrative
materials that may be used at points during this proceeding. We will provide those as soon as
they are created.

         The Government will present evidence that Aron Ethridge received payment in bitcoin,
which is a type of cryptocurrency, for his part in the murder-for-hire scheme. Ethridge then
withdrew cash from a Coinflip ATM. SA Woodford was asked to review Coinflip data associated
with Aron Ethridge. His testimony will be based on his review of that Coinflip data and his
training, certifications, and experience.

         Cryptocurrency (also known as digital currency) is generally defined as an electronically
sourced unit of value that can be purchased with, sold for, or used as a substitute for fiat currency
(i.e., currency created and regulated by a government). Cryptocurrency is not issued by any
government, bank, or company; it is instead generated and controlled through computer software
operating on a decentralized peer-to-peer network. Cryptocurrency is not illegal in the United
States. Cryptocurrencies are widely used to conduct both legitimate and unlawful business. For
example, with regard to unlawful business, bitcoins were a payment method used on websites on
the dark web that offered drugs and other contraband for sale.

         Bitcoin ("BTC") is a type of cryptocurrency. Payments made with cryptocurrencies are
recorded in a public ledger that is maintained by peer-to-peer verification (i.e., a "blockchain")
and is thus not maintained by a single administrator or entity. The Blockchain keeps a publicly-
available record of the date, the amount, and the origin and destination of any transaction involving
Bitcoin. The Blockchain is not maintained by anyone person. It is an auto-generating record of
transactions. It is stored on computers all over the world. The origin and destination of a Bitcoin
transaction are designated by addresses. Every place where Bitcoin is stored has an alphanumeric
code assigned to it called an address. To look up a specific transaction, one must look up a unique
identifier assigned to that transaction.




                                                  1
          5:22-cr-00058-cr       Document 224         Filed 01/21/25       Page 13 of 20




        Bitcoin is designed to ensure that the blockchain is resistant to any attempted manipulation.
Bitcoin transactions are signed by the sender's private key, validated by nodes, confirmed by
miners, and then added to the blockchain, whereupon subsequent node operators and miners affirm
the irhegrity of the transaction by accepting the block in which the transaction is contained and
adding new blocks on top of it. In short, the blockchain has extensive built-in protections to ensure
the system or process produces an accurate result.

        An investigative tool used by FBI to analyze blockchain transactions is Chainalysis.
Chainalysis is primarily a software company that allows transparency into cryptocurrency. It
provides an investigative and compliance software to be able to analyze the transactions that are
actuapy occurring with cryptocurrency. Chainalysis provided certifications for their platform.
Chainalysis offers a platform called Reactor, that takes blockchain information and provides it in
a user interface to establish the flow of funds from one entity to another.

        Individuals can acquire bitcoins, bitcoin cash, and other cryptocurrencies, for example,
through exchanges (i.e., websites-some        of which are described further below-that         allow
individuals to purchase or sell cryptocurrencies in exchange for fiat currency or other
cryptocurrencies), ATMs, or directly from other people.             Individuals can also acquire
cryptocurrencies by "mining."      An individual can mine bitcoins, bitcoin cash, and other
cryptocurrencies by allowing their computing power to verify and record payments into the public
ledger. Individuals are rewarded for this task by receiving newly created units of a cryptocurrency.

         Individuals can send and receive cryptocurrencies through peer-to-peer digital transactions
or by using a third-party broker. Such transactions can be done on many types of computers,
including laptop computers and smart phones. Even though the public addresses of those engaging
in cf)fptocurrency transactions are recorded on a public ledger, the true identities of the individuals
or entities behind the public addresses are not recorded on the public ledger. If, however, an
individual or entity is linked to a public address, it may be possible to determine what transactions
were conducted by that individual or entity. Bitcoin based transactions are therefore sometimes
described as "pseudonymous," meaning that they are partially anonymous.

         Bitcoins, and bitcoin cash can be stored in digital "wallets." A wallet essentially stores the
access code that allows an individual to conduct cryptocurrency transactions on the public ledger.
To conduct transactions on the public ledger, an individual must use a public address (or "public
key") and a private address (or "private key"). Generally, the public address can be analogized to
a traditional bank account number, while the private key is like the password or PIN used to access
that bank account.

        Regarding Bitcoin wallets, SA Woodford will testify that Bitcoin wallets generally use
something called unspent transaction outputs (UTXOs) also known as "change addresses" when
transacting. For example, if a wallet address has 3 BTC and the user sends 1 BTC to someone
else's wallet, that 1 BTC goes to the intended recipient's wallet address and the remaining 2 BTC
goes to a newly generated wallet address that belongs to the user's digital wallet. This newly
generated wallet address is called a "change address" and is considered "unspent" and can be used
in a future transaction.



                                                  2
          5:22-cr-00058-cr        Document 224         Filed 01/21/25      Page 14 of 20




        There are typically five methods used to determine if an output to a transaction is either the
payment or the unspent transaction output. The names of these five methods are co-spend, named
output, address type, round amounts, and simplest spend.

        First, regarding co-spending, ifthere are multiple inputs in a transaction they are considered
to be co-spending. In this case, it was a relatively straightforward determination by SA Woodford
that each of those addresses were initiated from the same wallet.

         Second, the named output method is a change address determination based on funds being
sent from a private address to a service address. If there are two outputs in a transaction and one
is to a service address and the other is to private address the private address is most likely to be the
change address.

        Third, the address type method is a change address determination based on the four Bitcoin
address types. This is due to the fact that there are four Bitcoin address types, Legacy (Pay-to-
Public-Key-Hash - P2PKH), SegWit (Pay-to-Script-Hash - P2SH), Bech32 (Native Segregated
Witness - Native SegWit, and Taproot (bech32m or pay-to-taproot -P2TR). For example, if there
is an input address sending cryptocurrency and there are two outputs, one of the same address type
and one of a different address type, the change address is most likely to be the address with the
same address type.

        Fourth, the round amounts change address determination is based on the human desire to
use round numbers. For example, if the input address of a transaction is 1.45 BTC and the output
addresses of the transaction are 1 BTC and .45 BTC, the output address receiving .45 BTC is most
likely to be change address. Similarly, the actual fiat currency amount equivalent to the virtual
currency value can be swapped as the round number.

         Fifth, the simplest spend method is based on the fact that a wallet only spends funds that it
needs to spend to fulfil the transaction amount. If there are multiple input addresses used to
facilitate a transaction, the change address is most likely the output address containing the smaller
amount. For example, if there are three input addresses containing 3 BTC, 5 BTC, and 2 BTC and
two output addresses receiving 1 BTC and 9 BTC, the 1 BTC output address is most likely to be
the change address. This is because the address with 2 BTC would have satisfied the transaction
amount if the payment was only 1 BTC. When analyzing transactions to determine the unspent
transaction output, or change address, a combination of methods can be applied simultaneously.
Additionally, being able to utilize more than one method increases the likelihood of identifying
which output is the unspent transaction output address.

        Exchangers and users of bitcoins and bitcoin cash often store, and transact with these
cryptocurrencies in several ways, utilizing desktop, mobile, and online wallets; hardware devices;
and paper wallets. Desktop, mobile, and online wallets are electronic in nature and can be stored
on mobile devices (for example, smart phones or tablets) or websites that users can access via a
computer, smart phone, or any device that can search the internet. Wallets can also be stored on
external or removable media and hardware (such as USB thumb drives). In addition, paper wallets
contain an address and a QR code, a matrix barcode that is a machine-readable optical label, with
the public and private key embedded in the code. Paper wallet keys are not stored digitally. Wallets


                                                   3
          5:22-cr-00058-cr       Document 224         Filed 01/21/25       Page 15 of 20




can also be backed up into, for example, paper printouts, USB drives, or CDs, and accessed through
a "seed phrase" (random words strung together in a phrase, also known as a "recovery phrase") or
a complex password. Additional security safeguards for cryptocurrency wallets can include two-
factor authorization (such as a password and a phrase). Individuals possessing cryptocurrencies
often have safeguards in place to ensure that their cryptocurrencies become further secured in the
event that the cryptocurrencies become potentially vulnerable to seizure and/or unauthorized
transfer.
         Coinflip (coinflip.tech) is a cryptocurrency ATM company. They offer ATMs in many
locations across the United States, including locations in Las Vegas, Nevada. Coinflip offers the
ability to buy and sell cryptocurrency at their A TM locations. Both buying and selling
cryptocurrency requires the user to provide their own cryptocurrency wallet. When buying
cryptocurrency, the user first selects the type of cryptocurrency they want to purchase. Next, they
are required to accept Coinflip's terms of service. The user is then required to provide a phone
number where a one-time pass code can be sent. Once authenticated, the user then scans their
personal wallet QR code at the ATM sensor. After that, the user must make a payment for the
cryptocurrency purchase at the ATM. Once that is complete, Coinflip sends the equivalent amount
of cryptocurrency to the wallet address provided by the user.

         When selling cryptocurrency Coinflip requires a similar process. However, Coinflip only
facilitates the sale of Bitcoin or Litecoin. Once the user selects the type of cryptocurrency they
want to sell, they must first accept the terms of service. Then the user enters a phone number for a
one-time pass code to be sent. Once the user is authenticated they must specify the cash withdrawal
amount and select the sell button. Then the user must use their personal wallet to scan the Coinflip
ATM QR code for the address in which the crypto will be sent. After the cryptocurrency has been
sent from the user's personal wallet, the user must then wait to receive a text message from Coinflip
confirming their cash is ready for withdrawal. Then the user must choose "redeem" on the ATM
and again verify their phone number. Once that is authenticated, cash is then dispensed from the
ATM. I also know that Coinflip collects biometric data as part of their Know Your Customer or
"KYC" process. Each Coinflip ATM generates biometric data by analyzing images of the user's
face during their verification process. Coinflip also collects data such as, first and last name, phone
number, email address, usemame, and mailing address.

        SA Woodford reviewed wallet information for Ethridge's cryptocurrency account and the
related blockchain entries. In connection with that review, SA Woodford created the below chart:




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          5:22-cr-00058-cr      Document 224                           Filed 01/21/25                           Page 16 of 20




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        Specifically, SA Woodford's review revealed that on March 4, 2020, someone with a Bitlo
account    sent      approximately   1.11    Bitcoins    (BTC)     or    $9,370    to   wallet
address lIMN aXnaP 1hFD9W zzNNVJGTRfyWL TII asE.

         On March 5, 2020, address IJMNaXnaPlhFD9WzzNNVJGTRfyWLTIIasE                           sent
1.10988996            BTC          ($9,737.93        USD)          in        transaction       hash
83f2681 d256694065e03691a36c51 d728a49fabee73ef92246685ea6ae705ee6.                  The   amounts
output      in    the    transaction      were    0.342201      BTC      ($3,002.39      USD)     to
32xZ9tBYha9JA7a6VUb8WqcRjTmHMzw18P                  and 0.76768218 BTC ($6,735.47 USD) to
1DPxpU3KyY6VudivZJvu7m1 YuQyEjSwAMa. Based on the UTXO method of matching the
address type, Legacy type in this case, and the fact that CoinFlip records revealed Ethridge placed
a sell order at CoinFlip ATM number BT300605, located at 450 Fremont Street #130 Las Vegas,
NV 89101, (hereinafter "BT300605"), address 1DPxpU3KyY 6VudivZJvu7m 1YuQyEjSw AMa is

                                                              5
          5:22-cr-00058-cr       Document 224         Filed 01/21/25       Page 17 of 20




likely   a     change   address                and        III     the       same        wallet       as
1JMNaXnaP 1hFD9WzzNNVJGTRfyWLTJ               1asE.

        On March 6, 2020, address 1DPxpU3KyY6VudivZJvu7m1YuQyEjSwAMa                            sent
0.76768218          BTC          ($6,966.57           USD)         in        transaction       hash
2976c83f1c5005afab340b592bOa0682775e1263e601eb2218d4e83f3cba8bec.                    The   amounts
output      in  the   transaction     were     0.343674       BTC     ($3,118.77969      USD)     to
394WsW3qUhFnuAFPAtgV58Gt83K3t7rdyF               and 0.42397202 BTC ($3,847.46977 US D) to
1YGn14zH8AC4imFSMZBEYsn62RxCuBPi3.                 Based on the UTXO method of matching the
address type, Legacy type in this case, and the fact that CoinFlip records revealed Ethridge placed
a      sell     order      at      CoinFlip        ATM         number       BT300605,       address
1YGn14zH8AC4irnFSMZBEYsn62RxCuBPi3                is likely a change address and in the same wallet
as 1DPxpU3KyY6VudivZJvu7m1 YuQyEjSwAMa.

        On May 13, 2020, address lYGn14zH8AC4imFSMZBEYsn62RxCuBPi3                               sent
0.42397202           BTC        ($3,739.9335           USD)         in       transaction        hash
c4f353fdO 1087996dc60aaa281c33740 139f75a2f8a195f3e09aOd6f2278d1 cO. The amounts output
in      the      transaction     were      0.08861018         BTC        ($781.64       USD)       to
19T5st3JYrnEPDEgPKawZ6XECoJ15wsJ72u                and 0.335285 BTC ($2,957.60 USD) to
31skUTb8TbMqY1dFMYMh5ab9SbckJT7sP8.                Based on the UTXO method of matching the
address type, Legacy type in this case, and the fact that CoinFlip records revealed Ethridge placed
a sell order at CoinFlip ATM number BT300860, located at 4305 Dean Martin Drive #120, Las
Vegas,           NV          89103,            (hereinafter          "BT300860"),            address
19T5st3JYmEPDEgPKawZ6XECoJ15wsJ72u               is likely a change address and in the same wallet
as 1YGn14zH8AC4imFSMZBEY sn62RxCuBPi3.

        On July 29,2020, address 19T5st3JYrnEPDEgPKawZ6XECoJ15wsJ72u                 sent 0.08861018
BTC              ($994.62              USD)                in            transaction              hash
988070be1c4a633e6d5bd41f9494aa7a8dOa8317ae3b4fe7367d064b784faOcc.                    The      amounts
output      in   the    transaction      were     0.00475748        BTC      ($53.40      USD)       to
125tJwnJN4DRzvUWDNkCQoWM6vsmNErY1D                      and 0.083525 BTC ($937.54 USD) to
3JpyPUp3SsxS8p1AVwxhow87Fh83PvAA8s.               Based on the UTXO method of matching the
address type, Legacy type in this case, and the fact that CoinFlip records revealed Ethridge placed
a      sell     order      at       CoinFlip      ATM           number       BT300860,         address
125tJwnJN4DRzvUWDNkCQoWM6vsmNErYID                     is likely a change address and in the same
wallet as 19T5st3JY mEPDEgPKawZ6XECoJ15wsJ72u.

        On     April   6,    2021,    addresses     15BG86X8QRwbqjJTfqy1 vVaplAZMBemtrv,
125tJwnJN4DRzvUWDNkCQoWM6vsmNErY1D,                                                             and
1DLF6BW7KrogZPYyETR92332d9Hy38vrN8                  co-spent 0.00062461 BTC ($36.92 USD),
0.00475748 BTC ($281.26) USD, and 0.00093264 BTC ($55.13 USD) respectively in transaction
hash 66cce31 a7a1 ea2287b6050ab776d1604fb66586df6706d35a56de5afc7ddl              cda. The amount
output      in   the    transaction     was      0.00600675       BTC      ($355.11     USD)      to
3DYnyYyCh3 JcppmcZw 1rmVeWI LksZNgAzD. Based on the UTXO method of matching the
address type, Legacy type in this case, and the fact that CoinFlip records revealed Ethridge placed
a      sell      order      at      CoinFlip        ATM        number        BT300860.        Since


                                                  6
                5:22-cr-00058-cr                Document 224                        Filed 01/21/25             Page 18 of 20




15BG86X8QRwbqjJTfqylvVaplAZMBemtrv,
l25tJwnJN4DRzvUWDNkCQo WM6vsmNErY 1D,                                           and
lDLF6BW7KrogZPYyETR92332d9Hy38vrN8  co-spent together, they are likely in the same
wallet.

        Based on information on their publicly available website (https:llwvvw.bitlo.coml), Bitlo is
a cryptocurrency exchange. A user at Bitlo can purchase hundreds of virtual assets in Turkish Lira
or Tether (USDT) markets at the exchange. They allow the user to deposit and withdraw Turkish
Lira to and from their Bitlo account. A user can also sell their cryptocurrency at the Bitlo exchange
for Turkish Lira and have the money deposited to their bank account. Bitlo offers advanced trading
where the user can set a price in which they want to buy or sell virtual assets. Additionally, Bitlo
offers Over the Counter (OTC) services where the user can place larger trades directly without
using the order book. Bitlo collects Know Your Customer or "KYC" data prior to utilizing their
services in accordance with Mali Suc;lar Ara~tIrma Kurulu (MASAK), the Turkish Financial
Crimes Investigation Board. Typically this means collecting first and last name, phone number,
email address, home address, and government identification of that customer. In addition to Bitlo's
web application, Bitlo offers both iOS and Android mobile applications to access the exchange.

        Below is the specific part of the chart that shows the transfers, including the specific
"change addresses," that SA Woodford identified based on his review of the change address
analysis described above. This represents SA Woodford's opinion that addresses that sent bitcoin
to Coinflip are part of a wallet owner or administrated by Aron Ethridge. The three below clusters
represent the entities involved in the analysis.



                   Deposit to Ethridge's   Wallet   from Bitlo.com   Exchange




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                                                                       Ethridge's
                                                                         Wallet
                                                                                                           1.11--r-----~

                                                                                                                                        Coin Flip ATM
                                                                                                                                           Deposit
    Bitlo.cam
                                                                                                                                         Addresses
    Exchange




                                                                                        5 "sell" orders at CoinFlip ATMs initiated   by Ethridge
                                                                                        between 31412020 and 4/6/2021




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          5:22-cr-00058-cr       Document 224        Filed 01/21/25      Page 19 of 20




         In total, from reviewing the coinflip records, Special Agent Woodford identified five (5)
transactions from Aron Ethridge's wallet to addresses controlled by Coinflip in order to withdraw
cash equivalents of the value of the bitcoin. Special Agent Woodford's analysis of those
transactions continues to date.

        The United States asserts that this notice satisfies the requirements of Rule 16(a)(1)(G) and
requests reciprocal discovery regarding expert witnesses under Rule 16(b)(I)(C). If, after viewing
this notice, the defendant requests further information or has concerns under Rule 16, the United
States requests that the defendant advise as to what further information is necessary to prepare for
trial.

       In compliance with Federal Rule of Criminal Procedure 16(a)( 1)(G)(v), I, Justin Woodford,
hereby declare that I have reviewed this notice and agree to its contents.




                                                 8
           5:22-cr-00058-cr        Document 224           Filed 01/21/25     Page 20 of 20




Justin Woodford
Special Agent
Federal Bureau of Investigation
Albany Division



Education
Bachelor of Science
Computer and Information Science
University of Maryland University College

Work Experience

   2006‐2009
       Police Officer – Federal Bureau of Investigation
       FBI Academy, Quantico, Virginia
   2009‐2020
       Investigative Specialist – Federal Bureau of Investigation
       Washington Field Office and Buffalo Field Office
   2020‐Present
       Special Agent – Federal Bureau of Investigation
       Albany Field Office
       Albany Cyber Task Force
       Virtual Currency Response Team (VCRT)

Certifications
   Chainalysis Reactor Certification
   Global Information Assurance Certification (GIAC) Security Essentials (GSEC)
   GIAC Open Source Intelligence Certification (GOSI)
   FBI SWAT Tactical Certification
   FBI SWAT Breacher Certification
   FAA Part 107 Remote Pilot Certification
